

Matter of Attorneys in Violation of Judiciary Law § 468-a (Prieto) (2025 NY Slip Op 02987)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Prieto)


2025 NY Slip Op 02987


Decided on May 15, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 15, 2025

PM-120-25
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Ivonne Prieto, Respondent. (Attorney Registration No. 2555662.)

Calendar Date:April 21, 2025

Before:Pritzker, J.P., Fisher, McShan, Powers and Mackey, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Ivonne Prieto, Santa Fe, New Mexico, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2024 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 230 AD3d 1498, 1516 [3d Dept 2024]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to March 11, 2025 and the April 14, 2025 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), we grant her motion for reinstatement. Moreover, to the extent that respondent also requests that her name be changed on the roll of attorneys, we deny such relief at this time, and instead direct respondent to submit a name change request through this Court's Office of Attorney Admissions. Accordingly, it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately; and it is further
ORDERED that respondent's request for a name change is denied.
Pritzker, J.P., Fisher, McShan, Powers and Mackey, JJ., concur.








